USCA4 Appeal:
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                                                                       FILED: June 1, 2022

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

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                                            No. 21-1872
                                       (3:18-cv-00103-NKM)
                                       ___________________

         J. COREY FRASER; BATTLEFIELD FIREARMS

                        Appellants
         and

         TANNER HIRSCHFELD; NATALIA MARSHALL

                        Plaintiffs
         v.

         BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES;
         MARVIN RICHARDSON, Acting Director of the Bureau of Alcohol, Tobacco,
         Firearms, and Explosives; MERRICK B. GARLAND, Attorney General

                        Defendants - Appellees

                                     _________________________

                                       RULE 42(b) MANDATE
                                     _________________________

               This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

               This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                /s/Patricia S. Connor, Clerk
